Case 5:19-cv-01074-FMO-SHK Document 23 Filed 08/21/19 Page 1 of 1 Page ID #:563




                                   UNITED STATES DISTRICT COURT
                                  CENTRAL DISTRICT OF CALIFORNIA

                                                           CASE NUMBER:

  ROXANA TOWRY RUSSELL
                                                              5:19−cv−01074−FMO−SHK
                                       PLAINTIFF(S)

                            v.

  INVECH INC , et al.

                                                                          DEFAULT BY CLERK
                                                                            F.R.Civ.P. 55(a)
                                    DEFENDANT(S).




       It appearing from the records in the above−entitled action that summons has been served upon the
  defendant(s) named below, and it further appearing from the affidavit of counsel for Plaintiff, and other
  evidence as required by F.R.Civ.P. 55(a), that each of the below defendants have failed to plead or otherwise
  defend in said action as directed in said Summons and as provided in the Federal Rules of Civil Procedure:

       Now, therefore, on request of counsel, the DEFAULT of each of the following named defendant(s) is
  hereby entered:



   Invech Inc

   Chun Yan Zhang
   Ruyin He

   One Nail and Lash Bar




                                                         Clerk, U.S. District Court

    August 21, 2019                                      By /s/ Ingrid Valdes
  Date                                                   Deputy Clerk

  CV−37 (10/01)                           DEFAULT BY CLERK F.R.Civ.P. 55(a)
